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                                      Exhibit A
                                    Proposed Order




CORE/9991000.8384/200512758.3
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

                                                                §
      In re:                                                    § Chapter 11
                                                                §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                        § Case No. 19-34054-sgj11
                                                                §
                                       Reorganized Debtor.      §

                        ORDER APPROVING MOTION TO CONFORM PLAN TO
                                  FIFTH CIRCUIT MANDATE

               This matter having come before the Court on the Motion to Conform Plan to Fifth Circuit

    Mandate (the “Motion”) filed by NexPoint Advisors, L.P. and NexPoint Asset Management,

    L.P. f/k/a Highland Capital Management Fund Advisors, L.P. (“NexPoint”); and the Court having

    jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found

    that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue in this District being

    proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having considered the Motion, the

    Judgment issued on March 18, 2025 in In re Highland Cap. Mgmt., L.P., 132 F.4th 353 (5th Cir.

    2025) (“Highland II”); and the final mandate issued in Highland II on June 13, 2025; and the Court

    having determined that the legal and factual bases set forth in the Motion establish sufficient cause

    for the relief granted herein; and adequate notice of the Motion having been given; and after due

    deliberation and good cause appearing therefor, it is hereby ORDERED that:

               1.     The Motion is GRANTED.

               2.     The definition of “Exculpated Parties” in Article I.B.62 of the Plan shall be deleted

                      in its entirety and replaced with the following:




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                      “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the
                      Independent Directors for conduct within the scope of their duties, (iii) the
                      Committee, and (iv) the members of the Committee in their official
                      capacities, for conduct within the scope of their duties.

             3.       The definition of “Protected Parties” in Article I.B.105 of the Plan shall be deleted

                      in its entirety and replaced with the following:

                      “Protected Parties” means, collectively, (i) the Debtor; (ii) the Independent
                      Directors, for conduct within the scope of their duties; (iii) the Committee;
                      and (iv) the members of the Committee in their official capacities, for
                      conduct within the scope of their duties.

             4.       Except as set forth herein, the Plan is unaffected and shall continue in full force and

                      effect in accordance with its terms and the terms of the Confirmation Order.

             5.       The Court shall retain jurisdiction to hear and determine all matters arising from or

                      related to the implementation, interpretation, or enforcement of this Order.

                                           ### END OF ORDER ###




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